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                                                                  7    GOLDEN BOY PROMOTIONS, INC.
                                                                  8
                                                                                                     UNITED STATES DISTRICT COURT
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                                                                                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                             EASTERN DIVISION
GREENBERG GLUSKER FIELDS CLAMAN




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                                                                       HEREDIA BOXING MANAGEMENT,                     Case No. 5:20-cv-02618-JWH-KKx
       & MACHTINGER LLP




                                                                  13   INC.; & MOSES HEREDIA,
                                                                                                                      Assigned to Hon. John W. Holcomb
                                                                  14                           Plaintiffs,
                                                                                                                      [PROPOSED] ORDER
                                                                  15   v.                                             GRANTING DEFENDANT
                                                                                                                      GOLDEN BOY PROMOTIONS,
                                                                  16   MTK GLOBAL SPORTS                              INC.’S MOTION TO COMPEL
                                                                       MANAGEMENT, LLC; GOLDEN BOY                    ARBITRATION
                                                                  17   PRODUCTIONS, INC.; VGC, LLP;
                                                                       PAUL D. GIBSON; and DANIEL                     Date: June 24, 2022
                                                                  18   KINAHAN,                                       Time: 9:00 a.m.
                                                                                                                      Crtrm: 9D
                                                                  19                           Defendants.
                                                                  20                                                  [Notice of Motion and Motion and
                                                                                                                      Declaration of Joshua M. Geller filed
                                                                  21                                                  concurrently herewith]
                                                                  22                                                  Complaint filed: December 18, 2020
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                                                                       17896-00636/4390731.1                                                [PROPOSED] ORDER
                                                       Case 5:20-cv-02618-JWH-KK Document 97-4 Filed 05/27/22 Page 2 of 2 Page ID #:1640



                                                                  1             Defendant Golden Boy Promotions, Inc.’s (“GBP”) motion for relief from
                                                                  2    the Court’s order denying GBP’s motion to compel arbitration or, in the alternative,
                                                                  3    to compel arbitration, came on for hearing in Courtroom 9D of the above-entitled
                                                                  4    Court, the Honorable John W. Holcomb presiding. Appearances were as reflected
                                                                  5    on the record. The Court, having considered the motion, the moving papers, the
                                                                  6    opposition papers, and the reply thereto, and the oral argument presented at the
                                                                  7    hearing, and for good cause appearing,
                                                                  8             IT IS HEREBY ORDERED THAT:
                                                                  9             1.        The motion is GRANTED;
                                                                  10            2.        All claims against GBP are stayed pending completion of the
GREENBERG GLUSKER FIELDS CLAMAN




                                                                  11   arbitration; and
                                                                  12            3.        A post-arbitration status conference is set for _______________.
                             2049 Century Park East, Suite 2600
                               Los Angeles, California 90067
       & MACHTINGER LLP




                                                                  13
                                                                  14            IT IS SO ORDERED.
                                                                  15
                                                                  16     Dated:
                                                                                                                   HON. JOHN W. HOLCOMB
                                                                  17                                               United States District Court Judge

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                                                                       17896-00636/4390731.1                          2                        [PROPOSED] ORDER
